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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,                      )
                                               )
               Plaintiff,                      )               ORDER FOR TEMPORARY
                                               )               RELEASE
       vs.                                     )
                                               )               Case No. 4:13-cr-142-5
Teliea Kateri Baker,                           )
                                               )
               Defendant.                      )


       Defendant is charged in an indictment with the offense of conspiracy to distribute and possess

with intent to distribute heroin. Following a detention hearing on September 6, 2013, the court ordered

defendant detained pending trial. In so doing, the court advised that it would entertain a request from

defendant for her temporarily release to attend a substance abuse evaluation if and when such an

evaluation could be arranged. Defendant is currently being housed at the Heart of America

Correctional and Treatment Center (“HACTC”) in Rugby, North Dakota.

       On September 13, 2013, the court was advised by defense counsel that defendant’s family had

tentatively scheduled a substance abuse evaluation for defendant on September 16, 2013, at 2:00 p.m.

through the Three Affiliated Tribes Circle in Rolette, North Dakota. The evaluation is to be conducted

at the Sacred Heart Catholic Church in Rolette.

       The court ORDERS that defendant shall be released to the custody of her mother, Marilyn

Yellow Bird, no earlier than 12:00 p.m. on September 16, 2013, for transport to the Sacred Hearth

Catholic Church in Rolette for her substance abuse evaluation. Ms. Yellow Bird shall return defendant

to HACTC by 4:30 p.m. on September 16, 2013.

       Dated this 13th day of September, 2013.

                                                       /s/ Charles S. Miller, Jr.
                                                       Charles S. Miller, Jr., Magistrate Judge
                                                       United States District Court
